Case 2:18-cr-00422-DJH   Document 2006-2   Filed 12/04/23   Page 1 of 48
            Case 2:18-cr-00422-DJH            Document 2006-2           Filed 12/04/23   Page 2 of 48



                2008 BUDGET AND BUSINESS PLAN FOR BACKPAGE.COM

                                             OVERVIEW

         Since its conception in October of 2003 through its launch in March of 2004 and its
subsequent tremendous growth over the last 44 months, Backpage.com has evolved through a
variety of business models as we have grown the product. At first it was envisioned as an internal
solution for the eleven NT papers. We then attempted to sell expensive "charter" licenses to other
papers (mainly but not exclusively alts) giving the licensees the same models as the NT papers had:
a relatively expensive ($32k to $63k) initial purchase with annual hosting and maintenance fees to
cover the Backpage operating costs (maintenance going to overhead along with some markup on the
hosting and license fees charged by Desertnet) while the "charter" licensee was able to keep 100% of
the revenues generated by their local site, the same way in which the NT papers operated.

While we were able to sell a few (4) of these licenses initially, the market response was that it was
too expensive, but that a less costly upfront fee would be acceptable in exchange for some type of
revenue share. In early 2005 we began to market these packages and had a good amount of success
over the next 12 to 15 months, selling about 15 licenses for sums ranging from $2000 to $16,000
with revenue splits ranging from 50/50 to 75/25 (75% to the licensee).

During this period growth of the national network was spectacular. In July 2004, after the launch of
the 11 NT paper BP sites, visits totaled 342,852. By October of this year total visits exceeded 8.9
million per month (see chart below) Revenues generated from the site (not including any
maintenance and hosting fees charged to licensees) grew from $29k in July 2004 to over $454k in
October of 2007. Ads placed via the website grew from 12, 195 to over 772,000 per month. Page
views now total over 147 million as measured by Google Analytics (which we switched to in July 07
for more accurate measurements).

                                                    ads placed via BP
                   Visits      $ generated               website           Page Views
 July 2004        342,852        $29,729                  12,195            2,895,733
 July 2005       2,262,585       $94,238                 61,065             19,021,090
 July 2006       6,141,756      $247,696                272,842            77,500,898
 October 2006    7,760,352      $265,827                408,774            87,313,962
 October 2007    8,993,456      $454,317                 772,517           147,503,813

In late 2005 and early 2006, in conjunction with the launch of eight Spanish sites tied to Univision,
we began to launch stand alone city sites without a newspaper partner. While no print upsell
opportunity exists in most of these markets ( such as Chicago and Atlanta) we now realize positive
revenue streams associated with every one of these sites, streams that inure 100% to Backpage.
Today we have 38 "owned and operated" backpage city sites running with 30 more planned for Q's
1-2 of 2008.

In 2007 we launched a number of new initiatives with great success, some greater than others. In
May in New York we launched a paid rentals section following Craigslists' entry into this paid arena
a few months prior. While our actual revenue did not meet our original projections, the initiative has




                                             - 1-



                                                                                                  DOJ-BP-0004602308
             Case 2:18-cr-00422-DJH              Document 2006-2            Filed 12/04/23       Page 3 of 48



built significant revenue and sales opportunities for the Voice staff and revenue continues to grow in
the sales department (see chart below):

 NYC Apartment Rentals 2007 Revenue Analysis

                           Online         Sponsor       Total Web       Total Staff Sales   Total Revenue

January                     $      552    $      800     $    1,352                         $      1,352
February                    $      532    $      500     $    1,032                         $      1,032
March                       $      657    $     1,900    $    2,557                         $      2,557
April                       $      818    $      600     $    1,418                         $      1,418
TOTALS                      $    2,559    $     3,800    $    6,359                         $      6,359

May                         $    9,086    $      900     $    9,986     $        7,750      $     17,736
June                        $    6,107    $              $    6,107     $        3,300      $      9,407
July                        $    4,864    $     1,000    $    5,864     $        3,934      $      9,798
August                      $    2,890    $      600     $    3,490     $        6,990      $     10,480
September                   $    2,590    $      700     $    3,290     $        6,251      $      9,541
October                     $    3,365    $      650     $    4,015     $        6,549      $     10,564
November                    $    2,872    $      856     $    3,728     $        7,198      $     10,926
December Projected*         $    1,533    $      429     $    1,962     $        6,000      $      7,962
TOTALS since May 1          $   33,307    $     5,135    $   38,442     $       47,972      $     86,414

 Grand Totals               $   35,866    $     8,935    $   44,801     $       47,972      $     92,773


 *Dec 1-14 daily avg * 29, used $6000 estimate for NYC for December

 This is admin site APARTMENT rentals ONLY - no other categories included


In addition we launched our patent applied for auto re-post function which has generated
considerable additional revenue as well as ad count.

In August we launched our national buy program which lets customers post paid sponsor ads across
all 70+ markets with one transaction. Customers can pick and choose the market in which they wish
to post or simply post in all markets. The program has proved to be phenomenally successful and
surpassed our projections may times over. In less than five full months the program has generated
$324,000 (including our projection for the last half of December) averaging in excess of $70,000 per
month.

We also have spent a considerable amount of time and resources in 2007 in improving content
quality. Automated spam routines remove bad postings within 15 minutes at a pace of 180,000
removals per month. The staff's global delete tools increased by ten fold the amount of spam
manually removed. We added country geo-locating by IP to block more international IP's and
Captcha to slow down posting robots. We even struck an alliance with an abusive over poster to
migrate to paid national sponsor ads.




                                               -2-


                                                                                                            DOJ-BP-0004602309
             Case 2:18-cr-00422-DJH           Document 2006-2         Filed 12/04/23       Page 4 of 48



In terms of marketing, we struck a deal with TheEroticReview.com (TER) with reciprocal links. It
created huge brand awareness in this niche industry and increased page views from TER by 120,000
per day.

Over 100 tasks were completed with incremental improvements to the site. Most of these tasks are
the result of customer emails sent to support@backpage.com. Support currently averages 300 emails
per day.

In 2007 with Jess Adams coming on board to take over the accounting and reporting responsibilities,
we have, for the first time, been able to accurately measure two critical items:

First is the total revenue generated by Backpage at all levels including online, print upsells, license
fees, maintenance fees, hosting charges and all other revenue streams that we have developed. The
total Revenue for 2007 looks like this:

            2007                       TOTAL

 BP REVENUE                          $4,020,064
 SETUP                                 $9,250
 HOSTING                              $187,174
 MAINT                                $208,893
 GOOGLE                               $128,254
 OODLE                                 $15,788
 NYC                                   $47,972
 TCU                                   $63,392

 TOTAL                               $4,680,788

 BP Revenue reduced by relevant Hosting & Maintenance amounts for Intro licensees and Metro/ EBX

For 2008, our projections are as follows:

           2008                        TOTAL

 BP REVENUE                          $5,554,855
 SETUP                                 $4,000
 HOSTING                              $265,015
 MAINT                                $240,217
 GOOGLE                                $77,455
 OODLE                                 $12,000
 NYC                                  $113,796
 TCU                                   $84,437

 TOTAL                               $6,351,776

 BP Revenue includes Print, Sponsor/ Online, National, and Preferred Sponsor
 BP Revenue reduced by relevant Hosting & Maintenance amounts for Intro licensees and Metro/ EBX




                                            -3-



                                                                                                    DOJ-BP-0004602310
             Case 2:18-cr-00422-DJH                Document 2006-2             Filed 12/04/23         Page 5 of 48



In addition, we can now measure and track the bottom line contribution Backpage brings to VVMH
at all levels. Throughout this calculation we assume that 30% of all print upsells are a cost of sales
to the papers. For 2007 the contribution looks like this:

 BACKPAGE ENTERPRISE IMPACT 2007




REVENUE

Print                                                                                           $872,802
Web (Online I Sponsor)                                                                         $1,906,620
Web (National Ad)                                                                                $79,971
Google AdSense                                                                                   $46,913
Preferred Sponsor Rev                                                                              $ -
Oodle Revenue                                                                                    $5,390
Other (NYC, TCU)                                                                                $111,364

 TOTAL REVENUE                                                                                 $3,023,061

 COSTS

Corp Alloc                                                                                      $201,798
Maintenance                                                                                     $161,825
Hosting                                                                                         $136,025
Univision                                                                                        $10,075
Powered By Affiliates                                                                            $31,491

 TOTAL COSTS                                                                                    $541,214

 GROSS PROFIT/ (LOSS) VVM                                                                      $2,481,846

 30% Print Expense                                                                              $261,841

 NET PROFIT/ (LOSS) VVM                                                                        $2,220,006

 NET PROFIT FROM BACK.PAGE                                                                     $(153,745)

 TOTAL PROFIT/ (LOSS) VVMH                                                                     $2,066,260

 NOTES:

December 2007 is projected
Web (National) used 70% VVM allocation
Google AdSense used 70% VVM allocation
Oodle used 70 % VVM allocation
Corp Alloc used 10% online I sponsor only - adjustment to true up to actual will be made at 2007 year end
Maintenance used 2007 budget not GL as adjustment needed at year end
Hosting used 2007 actual BW usage as adjustment needed at year end
Assumes December projected expenses and December projected 2007 adjustments - see 2007 P&L tab



                                                 -4-



                                                                                                             DOJ-BP-0004602311
             Case 2:18-cr-00422-DJH               Document 2006-2      Filed 12/04/23   Page 6 of 48



Our 2008 bottom line impact is forecast as follows:

BACKPAGE ENTERPRISE IMPACT 2008
REVENUE

Print                                                                              $767,029
Web (Online/ Sponsor)                                                             $2,604,349
Web (National Ad)                                                                  $229,975
Google AdSense                                                                     $30,790
Preferred Sponsor Rev                                                              $64,223
Oodle Revenue                                                                       $3,238
Other (NYC, TCU)                                                                   $198,233

TOTAL REVENUE                                                                     $3,897,837

COSTS

Corp Alloc                                                                         $457,515
Maintenance                                                                        $174,509
Hosting                                                                            $158,850
Univision                                                                          $10,114
Powered By Affiliates                                                              $47,199

TOTAL COSTS                                                                        $848,187

GROSS PROFIT/ (LOSS) VVM                                                          $3,049,649

30% Print Expense                                                                  $230,109

NET PROFIT/ (LOSS) VVM                                                            $2,819,541

NET PROFIT FROM BACKPAGE                                                           $214,371

TOTAL PROFIT/ (LOSS) VVMH                                                         $3,033,912




NOTES:

Web (National) used 70% VVM allocation
Google AdSense used 70% VVM allocation
Preferred Sponsor / Oodle used current allocation formula for VVM
Used 0.3% estimate for Univision (based on 2007 actuals)
Used 1.4% estimate for Powered By Affiliates (based on 2007 actuals)




                                                -5-



                                                                                               DOJ-BP-0004602312
                Case 2:18-cr-00422-DJH              Document 2006-2                  Filed 12/04/23             Page 7 of 48



                ADJUSTMENTS FOR CY 07 BACKPAGE FINANCIAL STAEMENT:

The following schedule details the adjustments necessary to close out the Backpage books for 2007
due to inaccurate entries, unfinished decisions or variances from projected to actuals:


2007 ADJUSTMENTS SUMMARY


NYC Rentals                                    $   (37,128)   (50% for 2007, 50% in 2008)
Legal Expense                                  $   (37,500)   (half to Dallas, half to Backpage)
Backpage Corporate Allocation Correction       $   (81,048)   (incorrect allocation at beginning of the year)
VVM Maintenance Correction                     $   (15,105)   (correction to original incorrect schedule)
VVM Hosting Correction                         $   (44,605)   (correction from projected to actual)
VVM 10% Allocation Correction                  $   (30,862)   (correction from projected to actual revenues)
NYC & MN TCU 10% Allocation                    $   (11,136)   (correction from projected to actual revenues)


TOTAL CREDIT DUE BACKPAGE                      $ (257,384)


Supporting schedules will be in handouts and
embedded in tabs in master budget




                                                   -6-



                                                                                                                       DOJ-BP-0004602313
            Case 2:18-cr-00422-DJH           Document 2006-2         Filed 12/04/23      Page 8 of 48



                                             2008PLAN

2008 presents us a series of opportunities to take Backpage to another new level. We have
consistently achieved a top ten ranking in Comscore's ranking of national classified sites, with our
page views at number six every month. As a free classified site, only Craig has more. While Kijiji
has passed us in uniques (we are about equal in visits as of November 07) they do not get nearly the
number of views per visit that we do.

The 2008 basic plan again proposes to significantly increase our investment in Backpage.com in
order to capture key pieces of the "free" online classified market and carve out a clearly defined
position as the other player in the free classified market.

Our Basic Strategic Plan is as follows:

   1. Grow visits and page views in categories with revenue and page view potential: escorts,
      massage, adult jobs, biz ops, pets, and employment.
   2. Grow revenue by further development of current revenue features and build new customer
      retention tools.
   3. Launch 30 or more new markets.
   4. Develop a selective affiliate solution and referral link acquisition process.
   5. Put a staff in place to handle the tasks above including continued user improvements, abuse,
      spam, fraud prevention, user and user content creation, feeds, affiliates and link building.
   6. Marketing and public relations.
          a. Public relations.
          b. Pay for personals.
          c. New paper campaign.
   7. Grow revenue for VVM and backpage as a stand alone.

The specifics for major development in 2008 include:

a. Spam clean up tools.
- Browse content nationally.
-MD-5 Hash

b. User improvements
- Delayed sponsor release.
- Popular searches
-WAP
- Receipts
- Google Search appliance.
- Profiles
- User authentication

c. Revenue improvements
- Affiliate program.
- Sponsor specials.



                                           -7-


                                                                                                     DOJ-BP-0004602314
             Case 2:18-cr-00422-DJH          Document 2006-2          Filed 12/04/23      Page 9 of 48



- Bank ofbackpage.
- Re-solicit queries and CRM
- Preferred Sponsor Position platform

d. Content
- Extended expiration
-OpenAPI
- Feed solutions
- Marketing tools
- Email database.

e. Marketing
- Staff blog for PR and transparency
- Create SQL database for email promotions
- GEO IP ads

f Personals program in seven cities: LA, OC, Phx, Denver, KC, Houston, and Dallas
- $100 per week per city drawings for 52 week to buy original personals content- random drawings
- Half page personals listing ads in each city each week
- Contest and program administered exclusively by Dallas staff
- In paper and banner promotion
- see separate powerpoint tab



                                    QUANTITATIVE GOALS:

For 2008 we have attempted to better identify trending and growth in a fashion that allows us to be
more predictive about growth for the company as well as for individual markets. We benchmarked,
ad count and visits vs. revenue to get an idea of dollars per ad posted and dollars generated per visit.
The results were generally very predicative (see spreadsheets following this section). We also found
a highly correlative relationship on a market by market basis for visits and page views, although it
varies greatly from market to market.

We used the last four months of 2007 as our baseline values for ads, visits and pages and built our
models using the above predicitive benchmarks. Following that we put each line item to the "sniff
test" and found in about 80% of the cases that our model felt fairly accurate. In some cases (such as
October 07 - Phoenix ... Larkin and Lacey arrested by Arpaio, escort ads and revenue immediately
plunge and rebound a few weeks later) we manually adjusted the ad counts, visits, page views and
ultimately revenues to better reflect what we felt was a realistic prediction.




                                            -8-



                                                                                                   DOJ-BP-0004602315
             Case 2:18-cr-00422-DJH        Document 2006-2       Filed 12/04/23      Page 10 of 48



                           2007 vs 2008 growth all markets peak month:
                 (See spreadsheets for month by month and market by market growth)




                               Actual          Projected         Percentage increase
                              October 07      October 08

Ads:                            772,513          1,150,336              49%

Visits:                       8,993,456       11,077,233                 23%

Page Views                   147,503,873     210,849,716                 43%

Print Revenues                $ 116,019          $ 92,719                -20%

Online/Sponsor Rev.           $250,001           $322,255                 29%

National Rev.                 $ 66,484           $ 94,726                42%

Total All Online Revenue    $454,317       $543,997                      20%
(Includes Google, Oodle, TCU, NYC, Premium Sponsor revenues)




                                           -9-



                                                                                            DOJ-BP-0004602316
         Case 2:18-cr-00422-DJH       Document 2006-2        Filed 12/04/23      Page 11 of 48



                           ALL BACKPAGE PROPERTIES

PRINT REVENUE

GRAND TOTALS - 2006 Actuals      $   1,416,740
GRAND TOTALS - 2007 Projected    $   1,836,075     29.60%   2007 Projected vs 2006 Actual
GRAND TOTALS - 2007 Actuals      $   1,328,510    -27.64%   2007 Actual vs 2007 Projected
                                                   -6.23%   2007 Actuals vs 2006 Actuals
GRAND TOTALS - 2008 Projected    $   1,183,425    -10.92%   2008 Projected vs 2007 Actual


ONLINE / SPONSOR REVENUE

GRAND TOTALS - 2006 Actuals      $   1,208,289
GRAND TOTALS - 2007 Projected    $   2,149,925     77.93%   2007 Projected vs 2006 Actual
GRAND TOTALS - 2007 Actuals      $   2,474,651     15.10%   2007 Actual vs 2007 Projected
                                                  104.81%   2007 Actuals vs 2006 Actuals
GRAND TOTALS - 2008 Projected    $   3,381,416     36.64%   2008 Projected vs 2007 Actual


NATIONAL AD REVENUE

GRAND TOTALS - 2007 Projected    $      54,820
GRAND TOTALS - 2007 Actuals      $     295,361    438.78%   2007 Actual vs 2007 Projected
GRAND TOTALS - 2008 Projected    $     976,421    230.59%   2008 Projected vs 2007 Actual


ONLINE / SPONSOR + NATIONAL REV

GRAND TOTALS - 2007 Projected    $   2,204,745
GRAND TOTALS - 2007 Actuals      $   2,770,012     25.64%   2007 Actual vs 2007 Projected
GRAND TOTALS - 2008 Projected    $   4,357,837     57.32%   2008 Projected vs 2007 Actuals


GRAND TOTAL -ALL REVENUE

GRAND TOTALS - 2006 Actuals      $   2,625,029
GRAND TOTALS - 2007 Projected    $   4,040,820     53.93%   2007 Projected vs 2006 Actual
GRAND TOTALS - 2007 Actuals      $   4,098,522      1.43%   2007 Actual vs 2007 Projected
                                                   56.13%   2007 Actuals vs 2006 Actuals
GRAND TOTALS - 2008 Projected    $   5,541,262     35.20%   2008 Projected vs 2007 Actuals
                  (See detail spreadsheets for month by month and city by city numbers)




                                     - 10 -



                                                                                             DOJ-BP-0004602317
                 Case 2:18-cr-00422-DJH                     Document 2006-2        Filed 12/04/23              Page 12 of 48



                                  CORPORATE ALLOCATIONS TO VVM PAPERS

 In 2007, we allocated 10% of online and sponsor revenue (excluding national, Google and Oodle ads
 which are charged out separately) generated by the VVM papers back to Backpage to cover the
 additional backroom cost of administering and focusing on the growth of the VVM paper sites.

 In 2008 we are proposing that number be increased to 15 %. There are two reasons for this. First is
 the increased projection for online revenue. In 2007 our online/sponsor revenue for the VVM papers
 beat projection by 111 %. We had projected a 68% increase over 2006 and beat that number by an
 additional 26% (compounds to 111 % ). In 2008 we are projecting an additional increase in this
 category of37% over 2007 or $698,000. Second, in order to achieve this goal we have to increase
 our support overhead substantially. We estimate the cost to be a minimum of $389,000 in additional
 expenditures. Almost all of this money is targeted to VVM cities. While the allocation increases
 from $210,000 in 07 to $457,000 in 08, net revenue to the VVM papers still increases $528,000 or
 29%. See the two following spreadsheets for details:


Backpage.com
Analysis of increased expenses 2008 over 2007
Original Date:         12/17/2007
Updated:               12/19/2007



                  2008 Proj           2007 Proj    2007 Actual*    2008 Diff       Explanation


Salaries           $     724,400      $ 483,744    $    507,264    $     217,136   Adding 8 new staff members in 2008
Bonus              $     202,600      $ 125,000    $    130,004    $      72,596   Adding 8 new staff members in 2008, increasing availability of bonus
Health
Insurance          $      40,310      $   24,996   $     24,713    $      15,597   Adding 8 new staff members in 2008
PR Tax             $      83,430      $   54,787   $     44,508    $      38,922   Adding 8 new staff members in 2008
                                                                                   Purchasing additional PCs / Laptops for
Depreciation       $          3,653   $            $               $       3,653   additional staff


Marketing/ Ad      $     114,000      $   70,000   $     72,142    $      41,858   Marketing in-house - ads        $ 20,000      new ads
                                                                                   Personals 7 markets             $ 42,000      year
                                                                                   PR Releases and
                                                                                   composition                     $    9,000    6 press releases submitted
                                                                                   Directories (SEO)               $    8,000    Buy ads on directories (SEO)
                                                                                   Posting Services (SEO)          $ 10,000      Blogging etc (SEO)
                                                                                   Affiliate Expenses              $ 25,000      Affiliate Mktg Program

TOTAL PROPOSED EXPENSE INCREASE
2008 OVER 2007                                                     $     389,762


* Dec 2007 projected




                                                          - 11 -



                                                                                                                                DOJ-BP-0004602318
                        Case 2:18-cr-00422-DJH                        Document 2006-2                     Filed 12/04/23               Page 13 of 48




Backpage.com
Analysis of VVM cities allocation of revenue to BP
Sponsor/ Online revenue only



                          2007                   2007                   2007                  2008           2008                  2008           Net Increase       % Increase
                                                                                                          15% Allocto            Netto VV
                         Actuals            10% Alloc to BP       Net to VV Cities          Projected         BP                  Cities        2008 over 2007       '08over'07


    Phoenix         $      264,276      $         26,428         $      237,848         $     340,971    $        51,146     $      289,826      $      51,977              22%
    Dallas          $      440,495      $         44,050         $      396,446         $     562,981    $        84,447     $      478,533      $      82,088              21 %
    Denver          $       90,183      $          9,018         $        81,165        $     120,347    $        18,052     $      102,295      $      21,130              26%
   St Louis         $       36,117      $          3,612         $        32,505        $      49,004    $         7,351     $       41,653      $       9,148              28%
      KC            $       51,801      $          5,180         $        46,621        $      70,066    $        10,510     $       59,556      $      12,935              28%
   Houston          $      216,267      $         21,627         $      194,640         $     330,811    $        49,622     $      281,190      $      86,549              44%
   Cleveland        $       66,632      $          6,663         $        59,969        $     104,695    $        15,704     $       88,991      $      29,022              48%
Miami/Broward       $      247,137      $         24,714         $      222,424         $     337,689    $        50,653     $      287,036      $      64,613              29%
      SF            $       42,724      $          4,272         $        38,452        $      54,801    $         8,220     $       46,581      $       8,129              21 %
    LA/OC           $      138,592      $         13,859         $      124,733         $     211,745    $        31,762     $      179,984      $      55,251              44%
    Seattle         $       26,283      $          2,628         $        23,655        $      46,402    $         6,960     $       39,442      $      15,787              67%
  New York*         $      261,140      $         26,114         $      235,026         $     386,497    $        95,102     $      291,394      $      56,368              24%
   Nashville        $       11,843      $          1,184         $        10,659        $       18,476   $         2,771     $       15,705      $       5,046              47%
Minneapolis**       $      124,493      $         12,449         $      112,044         $     168,097    $        25,215     $      142,883      $      30,839              28%


Totals VVM
papers              $    2,017,984      $        201,798         $    1,816,186         $ 2,802,582      $       457,515     $    2,345,067      $     528,881             29%


Additional 5% allocation of VV sponsor I online revenue to Backpage.com 2008 over 2007 (15% vs 10%) to cover increased expenses 2008 over 2007 - see
separate expense analysis. Increased allocation will still yield higher net Backpage sponsor/ online revenue for all VV cities in 2008 over 2007 - $528,881 total.


* Includes NYC Rentals plus $37,125 in 2008 for 1/2 of2007 NYC Rentals Adjustment
** Includes MN TCU




                                                                     - 12 -


                                                                                                                                                      DOJ-BP-0004602319
         Case 2:18-cr-00422-DJH          Document 2006-2         Filed 12/04/23      Page 14 of 48



                       LINE ITEM NARRATIVE AND ANALYSIS

                                       Direct Revenues:

1.   License fees and upgrades: none projected. We are no longer selling licenses to newspapers.
2.   Set up and development costs: $4000 FOR MISC. UPGRADES INCLUDING Latino sites
3.   Contracted Maintenance Fees with all licensees including VVMH papers
4.   Hosting Fees: Costs of Bandwidth based upon usage and Desertnet contract schedule.
     Projections are tied to current page view usage and projected growth thereof

                                 Revenue shares to BP at Net:

5. Print, online and sponsor revenue: from projected schedules based upon previous years
    trending analysis and estimates for 08 growth net of charges to introductory licensees. No
    VVM revenue shows here as 100% inures to the paper less the corporate charges which are
    detailed further down.
6. National ad revenue: from our trending and projection forecasts.
7. Google Revenue: Continues to trend downward as it did in 07
8. Preferred Sponsor ad revenue: This only projects $10,000 per month from the commitment
    we have from American Furniture warehouse (fuller description of this program elsewhere in
    this document). If successful, it will be re-budgeted in F-1 or F-2
9. Oodle Revenue: This is a minor sum.
10. Other Revenue shares: No money projected here as this category includes NYC rentals and
    Twin Cities uncovered sold by local staff 100 % inures to the city less the corporate charges
    which are detailed further down.

                                           Cost of Sales:

11. Hosting Fees: Our net costs due to DesertNet from the gross schedule in item 4 above
12. Custom Set up Fees: Costs associated with set up fees as charged in item 2 above
13. Credit Card Discount Fees: Assumes 4% for 2008 for everything going through the BP
    server
14. Chargebacks: assumes 1.5% for locally placed ads, 3.5% for national ads

                                          Expenses:

15. Salaries: We have added an additional 8 people to handle the additional work associated
    with the increase in volume and initiatives: spam, adult, pets, rentals, LA focus, national re-
    solicits. We also have projected a more sophisticated staff manager for the Phoenix office
    beginning in Q2
16. Bonus: Package opportunities have increased by $70 kin 08 to cover additional personnel
    and responsibilities if we hit the revenue and traffic goals.
17. Health insurance: follows pattern of usage by current staff with new costs and additional
    staff
18. Payroll taxes: 9% of salaries and bonus
19. Development Costs: Desertnet costs based on prior years usage.



                                       - 13 -



                                                                                               DOJ-BP-0004602320
           Case 2:18-cr-00422-DJH         Document 2006-2        Filed 12/04/23     Page 15 of 48



   20. Travel/M&E: Primarily Carl's expenses for trips to NYC, conventions, meetings and once
       per month to Dallas
   21. Dues and Subs: Primarily domain name registration
   22. Equipment repairs and maintenance: Misc. computer parts and services
   23. Legal: $75k projected based on Boston suit oversight, past experience and general caution
   24. Rent: costs of space in Phoenix and Dallas (note get Dallas a credit)
   25. Telephone: Carl's Cell
   26. Marketing and Advertising: As detailed in the business narrative this includes a new in
       house ad campaign, a personals cash giveaway campaign to buy content, PR and press
       releases, directories (SEO), Posting Services (SEO) and Affiliate marketing expenses,
       program to be determined.
   27. Supplies: Misc.
   28. Postage: minimal
   29. Miscellaneous: Misc.
   30. Depreciation: 3 year schedule for $13,250 worth of new and replacement computers (8 new
       staff plus two replacements and one laptop)
   31. Corporate allocation: plugged at $1269, same as 07

                      Corporate Allocations from VVM papers to Backpage:

These are calculated at 15% of online/sponsor revenue (including NYC rentals, TCU income and
half of development costs for NYC rental project in 2007) as described in the narrative above.




                                         - 14 -



                                                                                             DOJ-BP-0004602321
            Case 2:18-cr-00422-DJH            Document 2006-2           Filed 12/04/23       Page 16 of 48



                        PART II: PREMIUM POSITION SPONSORSHIP

Part of our 2008 sales development is the "Premium Position Sponsorship" program. As of this
writing we have only presented this to one account and we have a verbal commitment to begin the
program in early 2008. In as much as we have not tested the waters for this product yet, we did not
project any revenue other than the monthly commitment to it by the one account, American
Furniture Warehouse.

The program is fully developed and ready for sale. The mechanics are fairly simple. With 150
million page views monthly, we have approximately 50 million views that are made up of viewing
"listings pages" that is pages with lists of 100 ads per page in a particular category or section. To
date we have sold text sponsorship advertising at the top and the right hand rail (with thumbnails
drawn from the individual ads) of these pages to monetize Backpage. These sales are done at both a
local and now at a national level. This has been the lion's share of our revenue streams other than
paid adult. We have also monetized the auto re-post, rentals in New York and some other smaller
revenue streams, but these account for lesser dollar amounts.

The basic premise of the premium position sponsorship is to allow an advertiser to "sponsor a page"
with a link on the top of the appropriate contextually relevant category AND allow them to have a
sponsor ad position fixed at the top of the page on all listings pages served in that category. Because
of the high contextual relevance and the implicit behavioral targeting involved, we believe we will
be able to yield a very high effective CPM. We are also testing secondary contextual advertising
positions where an advertiser will be more likely to reach their customer base (i.e.: furniture in the
rentals section), but not quite as directly relevant. We don't believe this will bring as high a CPM as
the direct contextual relevance but should still yield impressive results.

We will sell these initially as package pricing with implicit CPM values backed in based upon our
current traffic. We will be able to measure click throughs to the advertisers site (as we are sure they
will as well) and we will be able to measure clicks from the text/sponsor ad on the listings pages into
the individual ads on the Backpage site.

Initially we are selling this on a full national basis only, but are technically prepared to be able to sell
selected markets as well. Selling categories in individual markets depends in large part on having a
critical mass oflisting pages in the targeted market to make the sale worthwhile. Initially we will
sell the product with our current Backpage staff (Carl and crew) but should we find this has legs we
will hire a person to sell the product.

Our initial full sales effort (other than American Furniture Warehouse which is underway) will begin
in January at the Adult Video and product show in Las Vegas.

Examples of the premium position sponsorship:




                                             - 15 -



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               Case 2:18-cr-00422-DJH                                                                                                   Document 2006-2                                                                                          Filed 12/04/23                                                                          Page 17 of 48



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                       Case 2:18-cr-00422-DJH                                                      Document 2006-2   Filed 12/04/23   Page 18 of 48




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       Case 2:18-cr-00422-DJH         Document 2006-2                                        Filed 12/04/23            Page 19 of 48




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Case 2:18-cr-00422-DJH    Document 2006-2   Filed 12/04/23   Page 20 of 48




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                                             Case 2:18-cr-00422-DJH                               Document 2006-2   Filed 12/04/23   Page 21 of 48




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Case 2:18-cr-00422-DJH    Document 2006-2   Filed 12/04/23   Page 22 of 48




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                         - 21 -



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            Case 2:18-cr-00422-DJH          Document 2006-2         Filed 12/04/23     Page 23 of 48



PART III: NEW YORK AND LA EMPLOYMENT INITIATIVE

The opportunity: Craig gets almost $19 million per year from employment postings in LA and New
York alone. He has ten times the volume of employment ads that we have. He creates virtually his
entire cash flow from charging for employment in selected markets. He is currently adding 5 more
markets to his paid employment stable.

 CRAIGSLIST.ORG
                      Job Postings
                      (in 30 day       Job Post         Monthly            Annual
 City Name            period)          Rate             Revenue            Revenue
 San Francisco                36,800              $75         $2,760,000       $33,120,000
 Los Anoeles                  29,200              $25           $730,000        $8,760,000
 NYC                          32,600              $25           $815,000        $9,780,000
 San Diego                    10,400              $25           $260,000        $3,120,000
 Seattle                      19,700              $25           $492,500        $5,910,000
 Boston                       15,600              $25           $390,000        $4,680,000
 Washington D.C.              13,800              $25           $345,000        $4,140,000
Total                        158,100                          $5,792,500       $69,510,000


 BACKPAGE.COM
                      Job Postings
                      (in 30 day
 City Name            period)          Oodle includes not counted in these numbers
 San Francisco                 1,178
 Los Angeles                   2,449
 NYC                           3,879
 San Dieoo                     4,921
 Seattle                       1,151
 Boston                          613
 Washington D.C.                 183
Total                         14,374

Our opportunity is to grab a significant piece of that market by achieving market recognition and
critical mass in employment postings. To date the work that we have done has barely dented the
disparity and we do not have the option to begin charging for employment ads with the volume we
currently have.

In order to do this, we feel we would have to invest a massive amount of money into a select few
markets and "buy" the content and eyeballs in order to get to the critical mass necessary to begin
charging for this category. We think LA and New York are our best opportunities. Our papers are
the strongest there and the markets are the largest. The cost will, however, be substantial. Therefore
this program, which is budgeted at $2 million dollars for a full year's deployment before we charge
for the first ad, would be contingent on realizing significant additional revenues from Backpage,
most probably from the Premium Sponsor Ad program. If the program takes off and generates a
fresh 7 figure revenue stream, then AND ONLY THEN, we recommend embarking on this program


                                          - 22-



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            Case 2:18-cr-00422-DJH          Document 2006-2         Filed 12/04/23      Page 24 of 48



with those additional dollars to capture a piece of this market. Assuming the project is a success, a
$2 million dollar investment could easily bring in $2 million dollars in each of the two markets in the
first full year of the operation, still only 20% of where Craig is, but nevertheless very profitable.
And it would be something we could build upon nationwide.

Develop a paid job posting solution for NY and LA

    1. Get content
          a. Pay to post jobs: $15k per mo
                   1. Pay $1 per ad to affiliates for job postings.
                  11. Set rules- job posting must stay online 30 days, ads must be authorized by
                      employer to be on this site and not copied verbatim from some other site, must
                      not be biz opps or commission only jobs, and postings will be reviewed for
                      complaints for 90 days before payment is made to poster.
                111. Result per market will be 5000 jobs a month for $5,000. We expect abuse as
                      many postings might be plagiarized by users from other sites. We will remove
                      them when notified and shut down affiliate when it happens.
                 1v. After several months of abuse, tighten up affiliate standards. Cost is $5k per
                      month to administrate.

   2. Create employers posting $30k per mo.
         a. Four people call employers and set up Pay to post account ($15,000 per mo.)
         b. Pay employers bonuses and incentives to start posting. ($5,000 per mo.)
         c. Pay webmasters for links on their site that drive good postings. ($10,000 per mo.)

   3. Get job seekers
         a. Online marketing: $60K per mo.
                  1. Geographic targeted ads on Google and Yahoo.
                 11. Purchase premium positions on Simplyhired, Indeed and Oodle.
                111. Purchase sponsorships on employment focused newsletters.


           b. Public relations: $10k per mo.
                  i. An article a month for a year via contracted PR firm.

           c. More traditional media: $50k per mo.
                 1. This could be direct mail to HR directors to late night cable TV targeting job
                     seekers.

   4. Develop innovative job specific features: $2k per mo.
         a. Undetermined.

   5. Total annual costs for above: $2 million.

   6. After one full year, start charging $10 to $15 for an employment posting.




                                           - 23 -



                                                                                                  DOJ-BP-0004602330
Case 2:18-cr-00422-DJH    Document 2006-2   Filed 12/04/23   Page 25 of 48




                         - 24-



                                                                    DOJ-BP-0004602331
Case 2:18-cr-00422-DJH   Document 2006-2   Filed 12/04/23   Page 26 of 48
Case 2:18-cr-00422-DJH   Document 2006-2   Filed 12/04/23   Page 27 of 48




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Case 2:18-cr-00422-DJH   Document 2006-2   Filed 12/04/23   Page 28 of 48
Case 2:18-cr-00422-DJH   Document 2006-2   Filed 12/04/23   Page 29 of 48
Case 2:18-cr-00422-DJH   Document 2006-2   Filed 12/04/23   Page 30 of 48
Case 2:18-cr-00422-DJH   Document 2006-2   Filed 12/04/23   Page 31 of 48
Case 2:18-cr-00422-DJH   Document 2006-2   Filed 12/04/23   Page 32 of 48
Case 2:18-cr-00422-DJH   Document 2006-2   Filed 12/04/23   Page 33 of 48
Case 2:18-cr-00422-DJH   Document 2006-2   Filed 12/04/23   Page 34 of 48
Case 2:18-cr-00422-DJH   Document 2006-2   Filed 12/04/23   Page 35 of 48
Case 2:18-cr-00422-DJH   Document 2006-2   Filed 12/04/23   Page 36 of 48
Case 2:18-cr-00422-DJH   Document 2006-2   Filed 12/04/23   Page 37 of 48
Case 2:18-cr-00422-DJH   Document 2006-2   Filed 12/04/23   Page 38 of 48
Case 2:18-cr-00422-DJH   Document 2006-2   Filed 12/04/23   Page 39 of 48
Case 2:18-cr-00422-DJH   Document 2006-2   Filed 12/04/23   Page 40 of 48
Case 2:18-cr-00422-DJH   Document 2006-2   Filed 12/04/23   Page 41 of 48
Case 2:18-cr-00422-DJH   Document 2006-2   Filed 12/04/23   Page 42 of 48




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Case 2:18-cr-00422-DJH   Document 2006-2   Filed 12/04/23   Page 45 of 48
Case 2:18-cr-00422-DJH   Document 2006-2   Filed 12/04/23   Page 46 of 48
Case 2:18-cr-00422-DJH   Document 2006-2   Filed 12/04/23   Page 47 of 48
Case 2:18-cr-00422-DJH   Document 2006-2   Filed 12/04/23   Page 48 of 48
